Case 1:24-cv-04777-AKH Document 89 Filed 04/08/25 Pagei1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

———— ea mre ee nen ee ee we ek ed de A ae me Se K
UMG RECORDINGS, INC. ET AL,
: ORDER GRANTING MOTION
Plaintiffs, : TO COMPEL
-against~ 24 Civ. 4777 (AKH)
UNCHARTED LABS, INC. ET AL,
Defendants.
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ALVIN K. HELLERSTEIN, U.S.DJ.:

Defendants Uncharted Labs, Inc. et al (“Udio”), served a set of Requests for
Production on Plaintiffs UMG Recordings, Inc. et al (““UMG Recordings”) on September 16,
2024, including requests for Plaintiffs to produce deposit copies of the Asserted Works and
artist-label agreements for all “works made for hire” for which Plaintiffs are listed as an author
or owner on the registration. Works made for hire are those works that are authored by another
party under contract with Plaintiffs, for which ownership is transferred to Plaintiffs through
assignment clauses in contractual agreements. Plaintiffs objected to those requests, and by joint
letter of March 4, 2025, the parties raised the dispute to the Court. Defendants move to compel
production of the deposit copies and the artist-label agreements. For the reasons below, that
motion is granted.

Plaintiffs assert that it is not necessary to produce the deposit copies of the
Asserted Works, because audio fingerprinting technology can identify that publicly published
versions of the sound recordings are identical to the recordings submitted to the U.S. Copyright
Office. As to the artist-label agreements, Plaintiffs argue that the chain-of-title documentation

that they have already produced is sufficient to establish that they have ownership of the works

1

Case 1:24-cv-04777-AKH Document 89 Filed 04/08/25 Page 2of3

made for hire, Alternatively, Plaintiffs propose a sampling protocol for discovery, by which a
10% sample of the artist-label agreements for the works made for hire at issue would be
produced for review by Defendants. Plaintiffs also cite the significant burden that the requested
discovery would impose on them.

Defendants assert that the documentation that Plaintiffs have suggested producing
is insufficient to prove ownership, both as to the deposit copies and as to the artist-label
agreements for works made for hire, Defendants further argue that the deposit copies must be
produced so that they can ascertain what Plaintiffs have registered.

This is a copyright infringement action, for which Plaintiffs must prove ownership
of the underlying Asserted Works. See Boisson v. Banian, Ltd., 273 F.3d 262, 267 (2d Cir.
2001) (citing Feist Publ’ns, Inc, v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)).

“FR ]egistration creates no irrebuttable presumption of copyright validity” and the Defendants are
entitled to discovery of the basic documents of ownership of copytights. See Urbont v. Sony
Music Ent., 831 F.3d 80, 89 (2d Cir. 2016). Deposit copies are the embodiment of the copyright
itself and the specific sound recording that was copyrighted. See Structured Asset Sales, LLC v.
Sheeran, 559 F. Supp. 3d 172, 174 (S.D.N.Y. 2021), aff'd, 120 F.4th 1066, 1075 (2d Cir. 2024);
see also 2 Nimmer on Copyright § 7.16[A][2][b] (2024). The alternative discovery proposed by
Plaintiffs is not the best evidence of ownership of the specific copyrighted sound recordings or
the contours of what was registered, and Plaintiffs must therefore produce the deposit copies.

The artist-label agreements requested by Defendants are also relevant, as they are
necessary to ascertain whether the works in question are in fact works made for hire owned by
Plaintiffs. See Urbont, 831 F.3d at 89-90; see also Int'l Media F. iims, Ine. v. Lucas Ent., Ine.,

703 F. Supp. 2d 456, 463 (S.D.N.Y. 2010) (“[A] transferee plaintiff in a copyright infringement

Case 1:24-cv-04777-AKH Document 89 Filed 04/08/25 Page3of3

action must prove that the copyright was properly transferred to the plaintiff”). A sampling
would not be sufficient to establish ownership for all of the asserted works made for hire, and the
alternative documentation produced by Plaintiffs likewise does not suffice. Each copyright must
be proven on its own. Plaintiffs must therefore produce the artist-label agreements for all works

made for hire.

SO ORDERED.
Dated: api $9. 2025 by, : mln
New Yotk, New York ALVIN K. HELLERSTEIN

United States District Judge

